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     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW MEXICO

GUY CLARK; LINDA CORWIN;
CRAIG CORWIN; WESLEY HANCHETT;
RICHARD JONES; MICHAEL WRIGHT; and
SAN JUAN AGRICULTURAL WATER USERS ASSOCIATION,

       Plaintiffs,

v.                                                         No.

DEB HAALAND, in her official capacity as Secretary of the Interior;
CAMILLE C. TOUTON, in her official capacity as
Deputy Commissioner, United States Bureau of Reclamation;
MARTHA WILLIAMS, in her official capacity as
Principal Deputy Director, U.S. Fish & Wildlife Service;
DR. RUDY SHEBALA, in his official capacity as
Executive Director, Navajo Nation Division of Natural Resources;
DAVID ZELLER, in his official capacity as
head of Navajo Indian Agricultural Products Industries;
JOHN D’ANTONIO, in his official capacity as
State Engineer of the State of New Mexico; and
ROLF SCHMIDT-PETERSEN, in his official capacity as
Director of the New Mexico Interstate Stream Commission,

       Defendants.

                     COMPLAINT FOR DECLARATORY JUDGMENT

I. INTRODUCTION

1.     This complaint seeks declaratory judgments concerning the federal laws that govern

water in the arid region of the United States. Inter alia, this complaint seeks declaratory

judgments that Navajo Dam and the Navajo Indian Irrigation Project (NIIP) are Bureau of

Reclamation projects subject to the Reclamation Act of 1902, Pub. L. No. 57-161, 32 Stat.

390 (Jun. 17, 1902), 43 U.S.C. § 372; that Navajo Dam and NIIP are subject to section 8 of

the Reclamation Act; that Navajo Dam and NIIP are subject to the practicably irrigable
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acreage (PIA) standard set forth in Arizona v. California 373 U.S. 546 (1963) and 460 U.S.

605 (1983); and that, when adjudicating claims to an interstate river, the courts must

consider endangered species, global warming, drought, scarcity of water, obligations under

existing water compacts, claims by private parties and government, and federal reserved

water rights.

II. JURISDICTION AND PARTIES

2.     Jurisdiction exists under 28 U.S.C. § 1331 (federal question) because this case arises

under federal law, including but not limited to: the Reclamation Act of 1902; the Colorado

River Storage Act; the Navajo Indian Irrigation Project Act; the Endangered Species Act of

1973; the Omnibus Public Land Management Act of 2009; the McCarran Amendment; the

Colorado River Compact of 1922; the Upper Basin Compact of 1948; the National

Environmental Policy Act of 1969; the Constitution of the United States, including the

Supremacy Clause, the Compact Clause, the Due Process Clause, the First Amendment, the

Equal Protection Clause, the Fourteenth Amendment, clause 3; the Federal Civil Rights

Acts, 42 U.S.C. §§ 1981, 1982, 1983, 1985, 1986, and 1988; and federal case law, including

the decisions by the Supreme Court of the United States and the Tenth Circuit Court of

Appeals set forth in this complaint.

3.     This complaint seeks relief under the Declaratory Judgment Act, 28 U.S.C. § 2201,

along with other relief under 28 U.S.C. § 2202.

4.     Venue is proper in this district under 28 U.S.C. § 1391(b)(2).

5.     Defendant Deb Haaland is the Secretary of the Interior.


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6.     Defendant Camille C. Touton is a Deputy Commissioner of the United States

Bureau of Reclamation (BOR). She has been nominated but not yet confirmed to be the

Commissioner of the Bureau of Reclamation. The BOR was created to carry out the

Reclamation Act of 1902. The BOR constructs and operates projects throughout New

Mexico and the western United States, including Navajo Dam and NIIP. The BOR is a

division within the Department of the Interior.

7.     Defendant Martha Williams is the Principal Deputy Director of the U.S. Fish &

Wildlife Service, a division of the Department of the Interior.

8.     Defendant Dr. Rudy Shebala is the Executive Director, Navajo Nation Division of

Natural Resources.

9.     Defendant David Zeller is the current head of Navajo Agricultural Products

Industries (NAPI), an agency, instrumentality, or enterprise of the Navajo Nation. NAPI

uses water from Navajo Dam and NIIP.

10.    Defendant John D’Antonio is currently the State Engineer of New Mexico. He was

appointed to that post in 2019 by Governor Lujan Grisham. Mr. D’Antonio was previously

appointed State Engineer by Governor Bill Richardson, serving from 2003 to 2011. Mr.

D’Antonio has announced that he would resign at the end of 2021 because of inadequate

funding for the Office of State Engineer (OSE). See paragraph 93 below.

11.    Defendant Rolf Schmidt-Petersen is the Director of the New Mexico Interstate

Stream Commission.

12.    All of the named defendants are sued in their official capacities only.


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13.    Plaintiff Guy Clark resides in Corrales, New Mexico, in Sandoval County. For his

home Dr. Clark relies on water from a well in the Rio Grande bosque. His domestic well is

recharged by river water that seeps into the alluvial flood plain along the Rio Grande.

14.    Plaintiffs Linda and Craig Corwin live in Bloomfield, New Mexico, in San Juan

County. At their home they use domestic treated water from the San Juan River which is

supplied by the City of Bloomfield. For their lawn and vegetable garden, the Corwins use

irrigation water from the San Juan River which is supplied by the Bloomfield Irrigation

District.

15.    Plaintiff Wesley Hanchett lives in Albuquerque, New Mexico, in Bernalillo County.

The water for his home is supplied by the Albuquerque Bernalillo County Water Utility

Authority.

16.    Plaintiff Richard Jones lives in Albuquerque, New Mexico, in Bernalillo County.

The water for his home is supplied by the Albuquerque Bernalillo County Water Utility

Authority.

17.    Plaintiff Michael Wright lives in San Juan County near Aztec, New Mexico. He

irrigates about 3 acres using water from the Animas River (a tributary of the San Juan River)

supplied by the Stacey Ditch.

18.    Plaintiff San Juan Agricultural Water Users Association is an association of acequias

which use water from the rivers in the San Juan River Basin. Acequias, also known as

community ditches, are authorized by statute to construct and operate acequias, and “to

take water for said acequias from wherever they can.” NMSA 1978, § 73-2-1 et seq.


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III. OVERVIEW OF FEDERAL LAW APPLICABLE TO NAVAJO DAM, NIIP, NAVAJO
RESERVOIR, THE SAN JUAN RIVER, AND THE SAN JUAN-CHAMA PROJECT

A. The Reclamation Act of 1902 and its Beneficial Use Requirement

19.    In 1902 the federal government enacted the Reclamation Act for the development of

water resources in the arid western regions of the United States. To deal with the extreme

scarcity of water in the West, the federal government included a provision requiring the

conservation of water:

       Nothing in this Act shall be construed as affecting or intended to affect or to
       in any way interfere with the laws of any State or Territory relating to the
       control, appropriation, use, or distribution of water used in irrigation, or any
       vested right acquired thereunder, and the Secretary of the Interior, in carrying
       out the provisions of this act, shall proceed in conformity with such laws, and
       nothing herein shall in any way affect any right of any State or of the Federal
       Government or of any landowner, appropriator, or user of water in, to, or
       from any interstate stream or the waters thereof: Provided, That the right of
       the use of water acquired under the provisions of this act shall be appurtenant
       to the land irrigated, and beneficial use shall be the basis, the measure, and
       the limit of the right.

Pub. L. No. 57-161, § 8, 32 Stat. 388, 390 (Jun. 17, 1902), codified in 43 U.S.C. § 372, 383.

[All emphases are added, except where noted.]

20.    The strict requirement of beneficial use in the 1902 Reclamation Act is one of earliest

environmental statutes enacted by the federal government. The law of beneficial use was

enacted to cope with the arid environment in the western states. In Jicarilla Apache Tribe v.

United States, 657 F.2d 1126 (10th Cir. 1981), the Tenth Circuit explained the beneficial use

concept at length, starting with the 1902 Reclamation Act. The Tenth Circuit relied upon

the Reclamation Act and New Mexico cases concerning the beneficial use doctrine:



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       “Our entire state has only enough water to supply its most urgent needs.
       Water conservation and preservation is of utmost importance. Its utilization
       for maximum benefits is a requirement second to none, not only for progress
       but for survival.” [Citation omitted.] Maximum utilization then is a
       fundamental requirement which prevents waste of water.

657 F.2d at 1133 (quoting Kaiser Steel v. W.S. Ranch Co., 1970-NMSC-043, ¶ 15).

       “[I]t is important to observe that, no matter how early a person’s priority of
       appropriation may be, he is not entitled to receive more water than is
       necessary for his actual use. An excessive diversion of water, through waste,
       cannot be regarded as a diversion to beneficial use, within the meaning of the
       Constitution. Article 16, §§ 1, 2 and 3, and [N.M.S.A. 72-1-2 (1978)). Water,
       in this state, is too scarce, and consequently too precious, to admit waste.”
       ....
       “. . . Water is too valuable to be wasted, either through an extravagant
       application for the purpose appropriated or by waste by misapplication which
       can be avoided by the exercise of a reasonable degree of care to prevent loss,
       or loss of a volume which is greatly disproportionate to that actually
       consumed.”
       ....
       “. . . Whatever right one has, even in his own, is subject to that established
       principle that his use shall not be injurious to the rights of others, or of the
       general public. . . . Nor can an appropriator take more water than he can
       beneficially use.”

657 F.2d at 1134 (quoting State ex rel. Erickson v. McLean, 1957-NMSC-012, ¶¶ 20, 21, 29).

21.    In Jicarilla, the Tenth Circuit reviewed the Reclamation Act, the Colorado River

Storage Project Act, the Colorado River compacts, and the statutes for NIIP and the San

Juan-Chama Project. 43 U.S.C. § 615ii. Based on these statutes and the beneficial use

requirement, the Tenth Circuit held that federal, state, and local agencies have no legal

authority to authorize a non-beneficial use, whether by permit or contract or otherwise. Id.,

Part II, 1136-44. Under federal law, agreements between governments cannot create a

beneficial use, and cannot authorize a wasteful use.


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22.    The beneficial use requirement was carried over almost verbatim into New Mexico’s

1907 water code, NMSA 1978, § 72-1-2. Subsequently, the beneficial use requirement was

elevated to constitutional status in the New Mexico Constitution of 1912. N.M. Const. art.

XVI, § 3 (“Beneficial use shall be the basis, the measure and the limit of the right to the use

of water.”).

23.    In the deserts of New Mexico and the western United States, water conservation is

not only a federal law, but also a law of survival. The arid environments in the American

West cannot sustain significant populations unless everyone conserves water. So the laws of

the United States and New Mexico do not allow anyone to waste water – not irrigators, not

municipalities, not homeowners, not the State of New Mexico, not Indian tribes, and not

the United States.

B. The Practicably Irrigable Acreage (PIA) Standard for Irrigation Projects

24.    When the general requirement for beneficial use of water is applied specifically to

irrigation projects, it is known as the practicably irrigable acreage standard (PIA).

25.    The Supreme Court has confirmed practicably irrigable acreage (PIA) as the standard

on at least three occasions – in 1963, 1983, and 1989:

(1)    Arizona v. California, 373 U.S. 546 (1963):

26.    In 1963, the Supreme Court quantified and awarded water from the Colorado River

system (of which the San Juan River is a part) for several Indian reservations in Arizona,

California and Nevada. The Supreme Court reviewed prior appropriation and beneficial

use under Western water law, the Colorado River compacts, and the implied reservation of


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water for Indian tribes under Winters v. United States, 207 U.S. 564 (1908). The Supreme

Court adhered to the universal requirement of beneficial use, the cornerstone of water law in

the West. The Court defined “[b]eneficial consumptive use” to mean “consumptive use

measured by diversions less return flows, for a beneficial (nonwasteful) purpose.” 373 U.S.

at 557 n.23.

27.    The Supreme Court ruled that the amount of water reserved under Winters must be

measured by the practicably irrigable acreage on the reservations:

       We also agree with the Master’s conclusion as to the quantity of water
       intended to be reserved. He found that the water was intended to satisfy the
       future as well as the present needs of the Indian Reservations, and ruled that
       enough water was reserved to irrigate all the practicably irrigable acreage on
       the reservations. Arizona, on the other hand, contends that the quantity of
       water reserved should be measured by the Indians’ “reasonably foreseeable
       needs,” which, in fact, means by the number of Indians. How many Indians
       there will be and what their future needs will be can only be guessed. We
       have concluded, as did the Master, that the only feasible and fair way by
       which reserved water for the reservations can be measured is irrigable
       acreage.

373 U.S. at 600-01.

(2)    Arizona v. California, 460 U.S. 605 (1983):

28.    After the first decision in Arizona v. California, some advocates and commentators

criticized the PIA method from both sides, either as too generous or not generous enough.

The Supreme Court was not swayed. In 1983 the Court returned to the issue and

emphatically reaffirmed the PIA standard as “the only feasible and fair way by which

reserved water for the reservations can be measured.” 460 U.S. at 615-28.




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29.    The Supreme Court explained once again, in greater detail, why PIA is the only

standard for quantifying reserved water rights under Winters. The Court stressed the

certainty of the PIA standard, versus the guesswork inherent in other methods:

       The standard for quantifying the reserved water rights was also hotly
       contested by the States, who argued that the Master adapted a much too
       liberal measure. Our decision to rely upon the amount of practicably irrigable
       acreage contained within the Reservation constituted a rejection of Arizona’s
       proposal that the quantity of water reserved should be measured by the
       Indian's “reasonably foreseeable needs,” i.e., by number of Indians. The
       practicably-irrigable-acreage standard was preferable because how many
       Indians there will be and what their future needs will be could “only be
       guessed,” id. 373 U.S. at 601. By contrast, the irrigable-acreage standard
       allowed a present water allocation that would be appropriate for future
       water needs. Id. 373 U.S. at 600-01. Therefore, with respect to the question
       of reserved rights for the reservations, and the measurement of those rights,
       the Indians, as represented by the United States, won what can be described
       only as a complete victory. A victory, it should be stressed, that was in part
       attributable to the Court’s interest in a fixed calculation of future water needs.
       Applying the irrigable-acreage standard, we found that the Master’s
       determination as to the amount of practicably irrigable acreage, an issue
       also subject to adversary proceedings, was reasonable.
                                               ***
       Certainty of rights is particularly important with respect to water rights in
       the Western United States. The development of that area of the United
       States would not have been possible without adequate water supplies in an
       otherwise water-scarce part of the country. Colorado River Water Cons. District
       v. United States, 424 U.S. 800, 804 (1976). The doctrine of prior
       appropriation, the prevailing law in the western states, is itself largely a
       product of the compelling need for certainty in the holding and use of water
       rights.

       Recalculating the amount of practicably irrigable acreage runs directly
       counter to the strong interest in finality in this case. A major purpose of this
       litigation, from its inception to the present day, has been to provide the
       necessary assurance to States of the Southwest and to various private
       interests, of the amount of water they can anticipate to receive from the
       Colorado River system.



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       “In the arid parts of the West . . . claims to water for use on federal
       reservations inescapably vie with other public and private claims for the
       limited quantities to be found in the rivers and streams.” United States v.
       New Mexico, 438 U.S. 696, 699 (1978). If there is no surplus of water in the
       Colorado River, an increase in federal reserved water rights will require a
       “gallon-for-gallon reduction in the amount of water available for water-
       needy state and private appropriators.” Id., 438 U.S. at 705.
                                              ***
       We also fear that the urge to relitigate, once loosed, will not be easily cabined.
       The States have already indicated, if the issue were reopened, that the
       irrigable- acreage standard itself should be reconsidered in light of our
       decisions in United States v. New Mexico, 438 U.S. 696 (1978), and Washington
       v. Washington State Commercial Passenger Fishing Vessel Assn., 443 U.S. 658
       (1979), and we are not persuaded that a defensible line can be drawn between
       the reasons for reopening this litigation advanced by the Tribes and the
       United States, on the one hand and the States on the other.

460 U.S. at 617, 620-21, 625.

(3)    Wyoming v. United States, 492 U.S. 406 (1989) (aff’g In re General Adjudication of All
       Rights To Use Water in the Big Horn River System, 753 P.2d 76 (Wyo. 1988))

30.    An equally divided Supreme Court reaffirmed the use of the PIA standard to

quantify Indian reserved water rights.

C. The Minimum Needs Doctrine

31.    In a series of cases, the United States Supreme Court has created the “minimum

needs” doctrine for quantifying all federal reserved water rights, including tribal rights. The

Supreme Court has limited the amount of federal reserved rights to the minimum needed to

accomplish the purpose of the reservation. United States v. New Mexico 438 U.S. 696, 700-

01:

              While many of the contours of what has come to be called the
              “implied-reservation-of-water doctrine” remain unspecified, the
              Court has repeatedly emphasized that Congress reserved “only


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             that amount of water necessary to fulfill the purpose of the
             reservation, no more.” Cappaert v. United States, 426 U.S. 128,
             141, 96 S. Ct. 2062, 2071 (1976). See Arizona v. California, 373
             U.S. 546, 600-01, 83 S. Ct. 1468, 1497-98 (1963); United States v.
             District Court for Eagle County, 401 U.S. 520, 523, 91 S. Ct. 998,
             1001 (1971). Each time this Court has applied the “implied-
             reservation-of-water doctrine,” it has carefully examined both
             the asserted water right and the specific purposes for which the
             land was reserved, and concluded that without the water the
             purposes of the reservation would be entirely defeated.

             This careful examination is required both because the
             reservation is implied, rather than expressed, and because of the
             history of congressional intent in the field of federal-state
             jurisdiction with respect to allocation of water. Where
             Congress has expressly addressed the question of whether
             federal entities must abide by state water law, it has almost
             invariably deferred to the state law. See California v. United
             States, 438 U.S. 645, 653-70, 678-79, 98 S. Ct. 2985, 2990-98,
             3002-03 (1978). Where water is necessary to fulfill the very
             purposes for which a federal reservation was created, it is
             reasonable to conclude, even in the face of Congress’ express
             deference to state water law in other areas, that the United
             States intended to reserve the necessary water. Where water is
             only valuable for a secondary use of the reservation,
             however, there arises the contrary inference that Congress
             intended, consistent with its other views, that the United
             States would acquire water in the same manner as any other
             public or private appropriator.

D. The Colorado River Compacts

32.    The waters of the Colorado River are shared by the states of New Mexico, Colorado,

Wyoming, Utah, Arizona, and California. See map, EXHIBIT 1.

33.    The waters of the Colorado River basin are allocated by the Colorado River

Compact of 1922 and the Upper Colorado River Basin Compact of 1948. Compacts are

agreements between states, or between states and tribes. To become effective, compacts


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must be enacted as identical statutes by Congress, and also by the legislatures of each state

and tribe. The Colorado River Compact was enacted by Congress as An Act of August 19,

1921, ch. 42, 42 Stat. 171 and by New Mexico in 1923 as NMSA 1978, § 72-15-5. The

Upper Basin Compact was enacted by Congress as An Act of April 6, 1949, ch. 48, 63 Stat.

31 and by New Mexico in 1949 as NMSA 1978, § 72-15-26.

34.    As the map in EXHIBIT 1 shows, the waters in the San Juan River flow downstream

from New Mexico into Lake Powell, where the San Juan joins with the main stem of the

Colorado River. The Colorado River then flows into Lake Meade and downstream

between Arizona and California. The map shows that other states have already built

infrastructure to capture any San Juan water that flows downstream from New Mexico,

such as: the Central Arizona Project, which supplies the Phoenix area and Tucson; the

Colorado River Aqueduct, which supplies Los Angeles and San Diego; and the All

American Canal, which supplies the Imperial Valley.

35.    In short, Albuquerque is competing with Las Vegas, Beverly Hills, Phoenix, and Los

Angeles for a dwindling supply of water. The water authorities in every other state are

acutely aware of this fact, as are Native American tribes. But the government in New

Mexico is oblivious to this reality.

36.    In the competition for the disappearing water from the San Juan-Colorado system,

the other states have 78 Representatives and 12 Senators in Congress, while New Mexico

has only 3 Representatives and 2 Senators. As a result, the Interior Department and the

BOR are under heavy political pressure not to enforce federal water laws.


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E. The McCarran Amendment and Federal Deference to State Water Law

37.    The last clause of section 8 of the Reclamation Act enacts a federal policy of water

conservation, while the first clause in section 8 enacts a policy of federal deference to state

water laws and regulations. See the text quoted above.

38.    This federal policy of deference to state water laws was reinforced and expanded by

the McCarran Amendment, 43 U.S.C. § 666. The McCarran Amendment waives the

sovereign immunity of the United States and Indian tribes and consents to the adjudication

and administration of water rights by the respective states.

39.    In United States v. District Ct. for Eagle County, 401 U.S. 520 (1971), the Supreme Court

ruled that state courts have the jurisdiction and authority to adjudicate the water rights of

the federal government, including the rights of Native American tribes.

F. Navajo Dam, Navajo Reservoir, and NIIP

40.    Under the Reclamation Act of 1902, the Bureau of Reclamation has constructed

many projects throughout the West, beginning with the Elephant Butte Dam and Reservoir

in New Mexico, https://www.usbr.gov/projects/index.php?id=94.

41.    In 1956 Congress authorized the construction of several new Reclamation Act

projects in the Colorado River Storage Act, Pub. L. No. 84-485, 70 Stat. 105 (Apr. 11,

1956), including the Glen Canyon Dam in Utah, the Flaming Gorge Dam in Wyoming, and

Navajo Dam in New Mexico. Section 4 of the Colorado River Storage Act states that the

participating projects shall be governed by the Reclamation Act of 1902.




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42.    In 1962 Congress authorized the construction of the Navajo Indian Irrigation

Project, which uses water impounded by Navajo Dam in Navajo Reservoir. Navajo Indian

Irrigation Project Act, Pub. L. No. 87-483, 76 Stat. 96 (Jun. 13, 1962). The NIIP Act

authorized the design and construction of waterworks and canals with an engineering design

capacity to irrigate up to 110,630 acres. However, NIIP proved to be uneconomic, so

Congress refused to appropriate the funds necessary to complete the project to the full

110,630 acres. As actually constructed, the NIIP waterworks cannot supply 110,630 acres,

even if it were practicable to build, operate, repair, and maintain the project. It is not. The

costs of the NIIP project have always exceeded its revenues.

43.    The NIIP Act authorized the construction of waterworks, not the creation of water

rights. The NIIP Act expressly states that it does not create any water rights:

       (c) No right or claim of right to the use of the waters of the Colorado River
       system shall be aided or prejudiced by this Act . . . .

NIIP Act, § 13(c), 76 Stat. at 101. Congress intended “that the United States would acquire

water in the same manner as any other public or private appropriator.” United States v. New

Mexico, 438 U.S. 696, 702 (1978), that is, by diverting water and putting it to beneficial use.

44.    Navajo Dam and the Navajo Indian Irrigation Project are governed by the beneficial

use limitations in the Reclamation Act of 1902.

45.    Navajo Dam and the Navajo Indian Irrigation Project are governed by the

practicably irrigable acreage (PIA) requirement established by the Supreme Court of the

United States. The PIA standard applies to all irrigation projects in the West, whether the

projects are operated by governmental agencies, tribal agencies, or private parties.

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G. The San Juan-Chama Project

46.      The San Juan-Chama Project is another BOR project under the Reclamation Act.

Pub. L. No. 87-483, §§ 8-10, 76 Stat. at 97-99. The project collects water from the basin of

the San Juan River and diverts it through a series of tunnels to the Rio Grande Basin. See

map, EXHIBIT 1. The water transported by the San Juan-Chama Project is allocated to

users up and down the Rio Grande:

 User                                           Share (acre-feet per year)(minimum)
 Albuquerque                                    48,200
 Middle Rio Grande Conservancy District         20,900
 Jicarilla Apache Tribe                         6,500
 Santa Fe County                                5,605
 Los Alamos County                              1,200
 Pojoaque Valley Irrigation District            1,030
 Espanola                                       1,000
 Belen                                          500
 Los Lunas                                      400
 Taos                                           400
 Town of Bernalillo                             400
 Red River                                      60
 Twining Water and Sanitation District          15




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H. The Animas-La Plata Project

47.    The Animas-La Plata Project is another BOR project under the Reclamation Act.

Congress began initial planning for the Animas-La Plata project in the 1960s. During the

ensuing decades, the project went through many different concepts. Environmentalists

opposed the project, along with many residents in Northwest New Mexico and Southwest

Colorado. The project was also opposed on economic and budgetary grounds. Ultimately

the project was drastically downsized from its original grandiose conceptions. See Jonathan

Thompson, The Water Project That Wouldn’t Die, High Country News, Nov. 14, 2012.

48.    As built, the project consists mainly of a pumping station on the Animas River at

Durango. The plant uses electricity to pump water more than 500 vertical feet to the Ridges

Dam and Reservoir, also known as Lake Nighthorse.

49.    The purpose of this facility was to release water back into the Animas River during

times of water shortage. However, there have never been any releases from the reservoir,

except for two small tests. The reservoir has no other outlet. The pumped water just sits in

Lake Nighthorse and evaporates.

50.    If water were ever released back into the Animas River, it could not reach its

intended recipients, because the water would be reabsorbed into the stream bed or used by

water owners with higher priority dates.

I. The Omnibus Public Land Management Act of 2009

51.    In 2009 Congress bundled dozens of pieces of legislation into the Omnibus Public

Land Management Act of 2009, Pub. L. No. 111-11, 123 Stat. 991 (Mar. 30, 2009). The bill


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created or expanded more than 34 wilderness areas, wilderness study areas, national

monuments, and scenic areas. The 2009 omnibus legislation did not repeal the beneficial

use requirement or the PIA standard. To the contrary, the 2009 legislation expressly

required the Secretary to comply with all federal laws which protect the environment.

       SEC. 10303. COMPLIANCE WITH ENVIRONMENTAL LAWS.

                                              ***
       (b) COMPLIANCE WITH ENVIRONMENTAL LAWS.—In carrying out
       this subtitle, the Secretary shall comply with each law of the Federal
       Government relating to the protection of the environment, including—(1) the
       National Environmental Policy Act of 1969 (42 U.S.C. 4321 et seq.); and (2)
       the Endangered Species Act of 1973 (16 U.S.C. 1531 et seq.).

J. The Endangered Species Act

52.    The Endangered Species Act (16 U.S.C. §1531 et seq.) applies to the San Juan River.

The River provides habitat for several endangered species, including the Colorado

pikeminnow (Ptychocheilus lucius), the razorback sucker (Xyrauchen texanus), the humpback

chub (Gila cypha); the bonytail chub or bonytail (Gila elegans); and the southwestern willow

flycatcher (Empidonax trailli extimus).

53.    Every year, the BOR releases several hundred thousand acre-feet of water from

Navajo Dam for endangered species habitat. According to the BOR, this water is not

available for use in New Mexico because it must be delivered downstream below Bluff,

Utah. See map, EXHIBIT 1.




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K. Other Federal Laws for the Protection of the Environment

54.    (a) The Reclamation Act of 1902 is one of the very first statutes enacted by Congress

to protect the environment. To protect the fragile environment in the western states, section

8 requires beneficial use of water, and prohibits any waste of water by anyone.

55.    (b) The Clean Water Act, Pub. L. No. 92-500, 86 Stat. 816 (Oct. 18. 1972).

56.    (c) The Safe Drinking Water Act, Pub. L. No.93-523, 88 Stat. 1660 (Dec. 16, 1974).

57.    (d) The National Environmental Policy Act, 42 U.S.C. § 4321 et seq.

IV. WHY A FEDERAL DECLARATORY JUDGMENT ACTION IS NECESSARY

58.    The defendants have not complied with or enforced these laws.

59.    The defendants are under strong political pressures not to enforce these laws.

Federal statutes and case law set very clear rules, summarized above, to govern the Bureau

of Reclamation, Navajo Dam, NIIP, other irrigation projects, and the quantification of

water rights for tribes. However, it would be impolitic and stressful for defendants to

enforce these laws.

60.    This lawsuit can be resolved very quickly if the defendants will simply admit the

well-established rules of law set forth in this complaint. However, it is anticipated that

defendants will use a wide variety of litigation tactics, and the ample resources of three

governments, to avoid giving straight answers to the pure questions of federal law posed by

this case. Accordingly plaintiffs respectfully ask the court to keep in mind that plaintiffs

have very limited resources to litigate this case, and that declaratory judgment actions are




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designed “to provide an immediate forum for the adjudication of rights and obligations . . .

with expediency and economy.” Duggins v. Hunt, 323 F.2d 746, 748 (10th Cir. 1963).

61.    There are 23 tribes and pueblos in New Mexico. The water rights of other tribes and

pueblos are being jeopardized by the ongoing failure to enforce the laws. The tribes and

pueblos have been forced into a cruel fight for survival, where success depends on who hires

the most lawyers, who cuts inside deals with the bureaucracy, and who gets favors from

politicians. Plaintiffs acknowledge that tribes and pueblos have rights to significant amounts

of water, which need to be quantified as soon as possible. The water rights of all tribes and

pueblos in New Mexico must be adjudicated promptly, in accordance with the laws, in a

comprehensive and consistent manner.

62.    This lawsuit is made necessary by the defendants’ long and continuing record of

noncompliance with the law. The present controversy arises in part because of certain state

court rulings, including State ex rel. State Engineer v. United States, 2018-NMCA-053, 425 P.3d

723. That opinion holds, inter alia, that NIIP is not a BOR project, ¶ 18; that NIIP is not

subject to the beneficial use requirement, or the PIA standard, ¶¶ 24-26, 30; that Congress

created water rights by authorizing the construction of NIIP, ¶ 32; that the state’s water laws

and regulations are pre-empted by federal law, ¶¶ 10, 13, 14, 16; and that a state court can

adjudicate water rights in interstate rivers without considering global warming, lack of

available water, endangered species, or other federal reserved water rights, ¶ 40.

63.    The foregoing rulings are plain errors of federal law. They contradict the first

principles of federal water law set by the federal statutes and decisions described in this


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complaint. An irreconcilable conflict between state and federal law now exists, and

plaintiffs therefore ask the court to issue declaratory judgments to resolve the conflicts.

64.    For example, Judge Wechsler refused to consider the dire and growing shortages of

water in the Colorado River system caused by global warming and prolonged drought.

Retired Judge Black affirmed that refusal.

65.    As another example, Judge Wechsler refused to consider the water which is used to

protect the species which have been declared endangered pursuant to the Endangered

Species Act. Retired Judge Black affirmed that ruling. The Black-Wechsler rulings conflict

with the Endangered Species Act and create chaos in the treatment of endangered species in

New Mexico. On the Rio Grande, there has been extended litigation in federal court over

releases of water for the silvery minnow, an endangered species. See Rio Grande Silvery

Minnow v. Bureau of Reclamation, 601 F.3d 1096 (10th Cir. 2010). By contrast, in state court,

water for the Colorado pikeminnow is a legal non-issue.

66.    These legally incorrect rulings adversely affect water users in the San Juan Basin.

Beyond that, these incorrect rulings also injure water users on the Rio Grande, including the

plaintiffs who depend on the Rio Grande for their water. These people were not served with

process, not parties to the case, and they had no opportunity to litigate the issues on their

merits, and therefore they are not bound as a matter of res judicata or collateral estoppel.

67.    Furthermore, the rulings in cause No. AB-07-1 (Navajo Nation Inter Se) were made

concerning a settlement via summary judgment, so they have no preclusive effect. State ex




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rel. Martinez v. Kerr-McGee Corp., 1995-NMCA- 041, ¶¶ 13-15, 120 N.M. 118, 898 P.2d 1256;

Pope v. The Gap, 1998-NMCA-103, ¶¶ 24, 27, 33, 125 N.M. 376, 961 P.2d 1283.

68.    These state court rulings overthrow the first principles of federal water law, so they

must be corrected by the federal courts, which have the ability to issue authoritative

decisions on questions of federal law. This declaratory judgment action is necessary to

reaffirm and enforce the federal laws which defendants must obey, and to carry out the

Supremacy Clause of the federal Constitution.

69.    This complaint asks the Court to issue declaratory judgments on the straightforward

points of federal law which apply to the defendants. These points include but are not

limited to the following:

 ! Navajo Dam, Navajo Reservoir, NIIP, the San Juan-Chama Project, and the Animas-

La Plata Project are BOR projects subject to the beneficial use requirement set forth in

section 8 of the Reclamation Act and Jicarilla Apache Tribe v. United States;

 ! The PIA standard applies to NIIP and all other irrigation projects;

 ! PIA is the measure of Winters rights for the Navajo Nation;

 ! The minimum needs doctrine applies to federal reserved rights claimed for the Navajo

Nation.

 ! The Colorado River Storage Act and the NIIP Act do not create water rights. They

simply authorize the construction of waterworks like dams, irrigation projects, canals, and

reservoirs;




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 ! Federal law does not follow the homeland theory espoused in In re General Adjudication

of All Rights To Use Water in Gila River System & Source (Gila V), 35 P.3d 68 (Ariz. 2001); and

 ! State and federal courts cannot ignore federal environmental laws when they adjudicate

rivers.

Pueblo of Santa Ana and State ex rel. Clark

70.       In State ex rel. Clark v. Johnson, 1995-NMSC-048, 120 N.M. 562, 904 P.2d 11, the

New Mexico Supreme Court held that a governor has no power to bind the state to a

compact with a tribe or another state unless the Legislature enacts the agreement as a

statute.

71.       A compact is a tripartite agreement between a state, the United States, and another

state or tribe. For a compact to become effective, the compact must be enacted at least three

times: as a statute by the United States; as a statute by each affected state; and as a statute by

each affected tribe, if tribes are involved.

72.       In Pueblo of Santa Ana v. Kelly, 932 F. Supp. 1284 (D.N.M. 1996), 104 F.3d 1546

(10th Cir. 1997), the federal district court and the Tenth Circuit upheld Clark v. Johnson. The

federal courts held that state law determines the procedure for executing valid compacts

with tribes or other states; approval by the federal government does not bind the state if the

state has not enacted the agreement as a statute.

73.       In December 2010, about two weeks before he left office, Governor Bill Richardson

signed an agreement with the Navajo Nation on water rights. The Richardson-Navajo




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agreement is a proposed water compact between the State of New Mexico and the Navajo

Nation, but it has never been enacted as a statute by the New Mexico Legislature.

74.    In addition, the Richardson-Navajo agreement on its face violates the requirements

which the Legislature has set for proposed water compacts with tribes. Section 72-1-1(C)

provides that a proposed water compact must settle all of the tribe’s water claims. The

Richardson-Navajo agreement does not settle the water claims of the Navajo Nation in the

Rio Grande Basin, where Albuquerque and Santa Fe are located. Nor does it settle Navajo

water claims in the basin of the Little Colorado River, where Gallup is located. The Navajo

Nation will assert very large water claims against the Rio Grande and Little Colorado, on

top of its huge claims against the San Juan.

75.    So the water supply to Albuquerque and Santa Fe is facing many threats at once,

including:

       - drought and climate change;

       - reductions in supply from the San Juan-Chama Project;

       - unresolved water claims by tribes and pueblos in the Rio Grande Basin;

       - the legal chaos in water law created by the New Mexico Court of Appeals opinion;

and

       - New Mexico’s obligation to deliver water down the Rio Grande to Texas and

Mexico.




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Tarrant Regional Water Dist. v. Herrmann, 569 U.S. 614 (2013)

76.       In Tarrant, the United States Supreme Court held that a federally approved water

compact does not pre-empt the Oklahoma water statutes. Speaking for a unanimous court,

Justice Sotomayor upheld “the well-established principle that States do not easily cede their

sovereign powers, including their control over waters within their own territories.” 569 U.S.

at 631.

V. CHRONOLOGY

77.       March 13, 1975. The State of New Mexico files suit against the United States to

adjudicate the water rights of the U.S. “on its own behalf and on behalf of its wards, to wit,

the Jicarilla Apache Tribe of Indians, the Navajo Tribe of Indians, and the Ute Mountain

Tribe of Indians,” in a general stream adjudication of the San Juan River Basin within New

Mexico, as authorized by the McCarran Amendment. Case No. CV-75-184 (“the main

case”), which is now renumbered as D-1116-CV-7500184.

78.       September 2, 2009. Case No. AB-07-1 (“the Navajo Inter Se”) is commenced as a

separate proceeding (sometimes called a “subfile”) within the general stream adjudication to

adjudicate the water rights of the Navajo Nation relative to other water owners. Some

service of process is made on local water owners, limited to the subfile Case No. AB-07-1.

79.       November 10, 2009. Judge James J. Wechsler, a judge of the New Mexico Court of

Appeals, is specially assigned to Case No. CV-75-184 and Case No. AB-07-1, to act as the

trial judge in the district court. The selection of Judge Wechsler does not follow the usual

practice for the assignment of judges in the district courts.


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80.    February 15, 2013. Judge Wechsler refuses to allow counterclaims asserted by local

water owners, even though Rule 1-013(A) NMRA makes these counterclaims mandatory.

81.    June 1 & 2, 2013. Judge Wechsler hears oral arguments by attorneys.

82.    July 12, 2013. Judge Wechsler informs all parties that no evidentiary hearing is

necessary.

83.    August 16, 2013. Judge Wechsler issues an opinion granting summary judgment.

He rules that there are no disputed issues of material fact, and that as a matter of law the

Navajo Nation is entitled to an award of approximately 635,000 acre-feet per year in

perpetuity, to satisfy its Winters claims within the San Juan River Basin within New Mexico.

635,000 acre-feet is roughly 6 times as much water as is used by the Albuquerque/Bernalillo

County metropolitan area, and roughly twice as much as used by the city of Phoenix.

84.    November 1, 2013. Judge Wechsler issues his Partial Final Judgments and Decrees.

85.    February 14, 2017. Retired Judge Bruce D. Black is specially appointed to hear the

appeals in the N.M. Court of Appeals. He served on the New Mexico Court of Appeals

from 1991 to 1996, alongside Judge Wechsler. Judge Black then retired from the state

bench to become a federal district judge in New Mexico from 1996 to 2017.

86.    April 3, 2018. Without hearing oral argument, the New Mexico Court of Appeals

issues an opinion affirming all of Judge Wechsler’s rulings. The opinion is written by

Retired Judge Black.

87.    May and June, 2018. Most of the parties except for the Navajo Nation and United

States challenge the COA opinion by seeking certiorari in the New Mexico Supreme Court.


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88.    August 12, 2018. The New Mexico Supreme Court grants certiorari and

consolidates the petitions into one proceeding. No. S-1-SC-37068, Consolidated with Nos.

S-1-SC-37065, -37070, and -37076.

89.    March 29, 2021. The New Mexico Supreme Court unexpectedly issues an order

quashing certiorari as improvidently granted, without explanation.

90.    April, 2021. The New Mexico State Engineer, the Albuquerque Bernalillo County

Water Utility Authority, and the City of Gallup file motions asking the Supreme Court to

reconsider its order quashing certiorari. The State Engineer correctly points out that the

COA opinion contradicts federal law and due process.

       The [COA] Opinion instead relies sua sponte on a misplaced application of
       federal law to supersede the due process specifically provided by this Court for
       statutory stream system adjudications in New Mexico. This reasoning
       undermines both the authority of the state courts to adjudicate water rights
       and the State Engineer’s authority to administer the waters of the State.

91.    At the present time, Retired Judge Black’s opinion affirming Judge Wechsler is the

law throughout New Mexico, at least in state courts. See Rule 12-405(C) NMRA.

However, Retired Judge Black’s opinion contradicts, nullifies, and abrogates federal laws on

water as set forth in federal statutes and the decisions of the United States Supreme Court.

The Supremacy Clause of the Constitution does not allow that to happen, so this lawsuit has

become necessary. U.S. Const. art. VI, paragraph 2.




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VI. OTHER VIOLATIONS OF FEDERAL LAW

A. Due process right to be heard at a meaningful time and in a meaningful manner

92.    Plaintiffs are being subjected to ongoing deprivations of their fundamental rights of

due process under the federal Constitution, “Due process requires prompt notice with ‘the

opportunity to be heard at a meaningful time and in a meaningful manner.’” Sandia v.

Rivera, 2002-NMCA-057, ¶¶ 12 and 17, 132 N.M. 201, 46 P.3d 310 (quoting Mathews v.

Eldridge, 424 U.S. 319, 333 (1976)).

93.    The San Juan adjudication has already been pending for more than 46 years, without

giving local water owners the opportunity to prove and protect their water rights. In

October 2017 the OSE informed Judge Wechsler that it would take 200 [two hundred] more

years to complete the adjudication. EXHIBIT 2. This is a denial of the right to be heard at

a meaningful time in a meaningful manner. The OSE admits that it does not have the

funding or staff to carry out its duties under the law.

94.    Most local water owners in San Juan County have water rights that were adjudicated

in the Echo Ditch Decree of 1948. Their water rights are being impaired and diminished by

the claims of the U.S. and the Tribes, because any increase in federal reserved rights will

result in a “gallon-for-gallon reduction in the amount of water available for water-needy

state and private appropriators.” United States v. New Mexico and Arizona v. California, supra.

B. Due process right to adequate service of process

95.    To advance the water rights of the Navajo Nation at the expense of other water

owners, the three governments (federal, state, tribal) worked together to create a so-called


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Expedited Inter Se, Case No. AB-07-1, as a vehicle for impairing defendants’ due process

rights. The service of process and notice for the Navajo Inter Se was constitutionally

inadequate under Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306 (1950);

Mennonite Bd. of Missions v. Adams, 462 U.S. 791 (1983); Macaron v. Associates Capital Services

Corp., 1987-NMCA-005, 105 N.M. 380, 733 P.2d 11; and Patrick v. Rice, 1991-NMCA-063,

112 N.M. 285, 814 P.2d 463. The three governments deliberately refused to use the best

available sources of information to identify current water owners.

96.    In order to determine the amounts of water rights and their relative priorities in a

stream system adjudication, NMSA 1978, § 72-4-15 requires the state engineer to complete a

hydrographic survey of “all rights to the use of the waters of such system, together with all

other data in his [the state engineer’s] possession for such determination.” Section 72-4-17

reiterates this requirement:

       In any suit for the determination of a right to use the waters of any stream
       system, all those whose claim to the use of such waters are of record and all
       other claimants, so far as they can be ascertained with reasonable diligence,
       shall be made parties.

97.    In New Mexico, a current hydrographic survey must be performed in the field to

identify current water owners, because water rights owners are not required to file

declarations with the State Engineer. NMSA 1978, § 72-1-3 (owner may file declaration); §

72-5-2 (existing community ditches not required to file applications). A cadastral survey is

required because field work is the only way to identify the people who are currently using

water. The last hydrographic survey was performed before the 1948 Echo Ditch Decree, so



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it is too out of date to satisfy due process. Echo Ditch Co. v. McDermott Ditch Co., No. 01690

(1st Jud. Dist. Ct. Oct. 4, 1937).

98.     The State Engineer worked in concert with the Navajo Nation and the United States

to nullify these statutory and constitutional requirements. Instead of a genuine

hydrographic survey, they agreed to file a purported “hydrographic survey” which did not

meet constitutional or statutory standards. Their spurious survey excluded all current water

users outside of the Navajo Reservation. As a result, many current water owners were

never identified and made parties to Case No. AB-07-1.

99.     On October 31, 2011, water owners filed a “notice of constitutional defect in service

list.” EXHIBIT 3. In response Special Master Steven Snyder sent an email to Celina Jones

of the Administrative Office of the Courts, a staffer who was working on the Navajo subfile

with Special Master Snyder and Judge Wechsler. EXHIBIT 4.

100.    Exhibit 4 shows actual bias, prejudgment, and a lack of impartiality with regard to

local water owners. When the defendants asserted their constitutional rights to adequate

service of process, the Special Master rejected these rights as nothing more than “dilatory

tactics.” After his email became known to local water owners, Special Master Snyder did

the right thing and disqualified himself from the litigation. EXHIBIT 5. However Judge

Wechsler and Celina Jones continued on the case, although they should have also

disqualified themselves. See the due process right to impartial judges, below.




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C. Due process – denial of right to file answer and counterclaim

101.    In February 2013 Judge Wechsler refused to allow local water owners to file an

answer and counterclaim to assert and defend their water rights as against the Navajo

Nation and the United States. Order Striking Community Ditch Defendants’ Answer and

Counterclaim (Feb. 15, 2013). His ruling denied local owners a meaningful opportunity to

present and prove their side of the case at a meaningful time.

102.    As this court knows, answers and counterclaims are mandatory in state and federal

courts in New Mexico. Rules 1-007(A), 1-008, 1-012, 1-013(A) (compulsory counterclaim)

NMRA; Fed. R. Civ. P. 7(a), 8, 12, 13(a).

D. Due process – property rights and constitutional rights

103.    In New Mexico, the right to take and use water is so essential that it is recognized as

a constitutional right.

        The unappropriated water of every natural stream, perennial or torrential,
        within the state of New Mexico, is hereby declared to belong to the public and
        to be subject to appropriation for beneficial use, in accordance with the laws
        of the state. Priority of appropriation shall give the better right.

N.M. Const. art. XVI, § 2.

104.    Water rights are also property rights. When water is captured from a natural stream,

it becomes personal property. Hagerman Irrigation Co. v. McMurry, 1911-NMSC-021, ¶¶ 4-5,

16 N.M. 172, 113 P. 823; Snow v. Abalos, 1914-NMSC-022, ¶¶ 13-15, 18 N.M. 681, 140 P.

1044. Because water rights are constitutional rights and property rights, water rights are

entitled to the highest degree of judicial protection and due process.



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E. Due process right to impartial judges; right to disclosure of actual or potential
conflicts; Liljeberg, Caperton, Williams

105.    All litigants in state and federal courts have a federal constitutional right to impartial

judges as established in Liljeberg v. Health Serv. Corp., 486 U.S. 847 (1988); Caperton v. A. T.

Massey Coal Co., 556 U.S. 868 (2009); and Williams v. Pennsylvania, ____ U.S. ____, 136 S.

Ct. 1899 (2016). This constitutional right has been denied to the defendants in the San Juan

litigation.

106.    Judge James J. Wechsler worked for the Navajo Tribe as a lawyer. At the time of

his special appointment to the San Juan cases in 2009, Judge Wechsler made no disclosures

whatsoever about actual or potential conflicts of interest. Such disclosures are required by

the Supreme Court’s decision in Liljeberg, and by Rule 21-211 NMRA of New Mexico’s

Code of Judicial Conduct.

        A judge should disclose on the record information that the judge believes the
        parties or their lawyers might reasonably consider relevant to a possible
        motion for disqualification, even if the judge believes there is no basis for
        disqualification.

Committee commentary [8] to Rule 21-211 NMRA.

107.    At no time did Judge Wechsler disclose that he had worked as a lawyer at DNA

Legal Services (DNA). At the time James Wechsler worked for DNA as an attorney, from

November 1970 to July 1973, DNA was an agency or instrumentality of the Navajo Tribe.

DNA was organized, funded, and run by the Navajo Tribe.

108.    Judge Wechsler’s prior employment as an attorney by the Navajo Tribe created an

irreconcilable conflict of interest. There is a plain conflict of duties between his duties of


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loyalty to his former employer and clients, and his duty of absolute impartiality as a judge.

Lawyers owe duties of loyalty and confidentiality to former clients and employers, and

those are continuing duties which survive the termination of the earlier relationship. New

Mexico Rules of Professional Conduct, Rule 16-109 (duties to former clients); Roy D. Mercer,

LLC v. Reynolds, 2013-NMSC-002, ¶ 1, 292 P.3d 466; Living Cross Ambulance Serv., Inc. v. New

Mexico PRC, 2014-NMSC-036, 338 P.3d 1258. On the other hand, judges have duties to act

with absolute impartiality to all parties, Rule 21-202 NMRA, and to avoid conflicts of

interest and even the appearance of impropriety, Rule 21-211 NMRA.

109.    The Navajo Tribe, now called the Navajo Nation, is a party in Case No. AB-07-1,

and the water rights of tribal members are being quantified and adjudicated in that case.

When he worked as a DNA attorney, James Wechsler personally worked as the lawyer for

hundreds of Navajo tribal members. Years later, Judge Wechsler awarded water for the use

of his former clients.

110.    It must be emphasized that it is admirable that Mr. Wechsler worked as an advocate

for the Navajo people, because providing legal services to underserved segments of the

population is one of the highest traditions of the bar. However, having served as a lawyer-

advocate for the interests of the Navajo people, Judge Wechsler cannot claim to be impartial

as to the water rights of the Navajo people. He owes continuing duties of loyalty to the

people he once served, and those duties conflict with the judicial duty of impartiality.

111.    When Judge Wechsler was specially assigned to the case, the attorneys for the three

governments knew that he had worked as an attorney for DNA, but they said nothing. By


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remaining silent, they breached their ethical duties, and the defendants’ constitutional right

to an impartial judge. When an attorney discovers a possible ethical violation concerning a

matter before a court, he is not only authorized but is in fact obligated to bring the problem

to that court’s attention. In re Gopman, 531 F.2d 262, 265 (5th Cir. 1976) (citing Estates

Theatres, Inc. v. Columbia Pictures Indus., Inc., 345 F. Supp. 93, 98 (S.D.N.Y. 1972)).

112.    By contrast, the defendants and their attorneys knew nothing about these

circumstances. If Judge Wechsler or the government attorneys had made the required

disclosures, the defendants would have promptly moved to recuse him.

113.    While the case was pending in the state Court of Appeals, rumors began to circulate

about a possible connection between Judge Wechsler and the Navajo Tribe. After

investigation, counsel for the acequias filed a motion in the Court of Appeals, raising the

issue of possible disqualification, and asking for a remand to the district court for the limited

purpose of discovering all the facts relevant to recusal. Motion filed February 26, 2018. The

Court of Appeals panel (including Retired Judge Black) denied the motion, and referred the

acequias’ attorney to the disciplinary board for raising the issue.

114.    While Judge Wechsler worked as a DNA lawyer, DNA provided written

litigation advice to the Navajo Tribe concerning the subject matter of Case AB-07-1:

Navajo claims to the San Juan River. In September 2019 Stanley Pollack, water counsel

for the Tribe, produced a DNA legal memo which he had kept in his files for years.

EXHIBIT 6 (“the DNA water litigation memo”). This is a legal memorandum which DNA

researched and sent to the Navajo Tribal Council in February 1971, when Judge Wechsler


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was working as an attorney at DNA. DNA gave legal advice and counsel to Navajo tribal

officials about the subject matter of the present case: Navajo claims to the Colorado River

system.

115.    By acting as a judge in this matter, Judge Wechsler violated a very specific rule on

judicial impartiality. Under Rule 21-211(A)(5)(a), recusal is mandatory when:

        (5) The judge:
               (a) served as a lawyer in the matter in controversy, or was associated
        with a lawyer who participated substantially as a lawyer in the matter during
        such association;

This is also a violation of the federal due process rights which the Supreme Court

established in Liljeberg, Capperton, and Williams.

116.    While Judge Wechsler was deciding this case, in which the State of New Mexico

was a party, the State was paying his son’s law firm millions of dollars for legal services

on water cases. Recent requests under the Inspection of Public Records Act, NMSA 1978,

§§ 14-2-1 through -12, have revealed that the State Engineer and the Interstate Stream

Commission have paid several million dollars for legal services by Jeffrey Wechsler (Judge

Wechsler’s son) and his law firm, for work on water cases. The amount paid exceeds two

million dollars, by how many more millions is unclear. A small sample of payments is

attached as EXHIBIT 7.

117.    The exact amount is not yet known because the State Engineer and the Interstate

Stream Commission have not yet produced all the payment records which have been

requested under the Inspection of Public Records Act (IPRA).



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118. In 2019 the State entered into a contract, number 21998, signed by Jeffrey Wechsler,

for his firm to provide legal services on water issues. In 2020 Jeffrey Wechsler signed an

amendment increasing the amount of this contract to $3,060,000 through 2023. EXHIBIT

8.

119.     Retired Judge Bruce Black was not authorized by the New Mexico Constitution to

act as a judge in the Court of Appeals. Retired Judge Black was not constitutionally

eligible for his extraordinary appointment to the Court of Appeals for the Navajo case. The

New Mexico Constitution allows the appointment of retired state judges to hear cases in the

district courts, but not the Court of Appeals or the Supreme Court. N.M. Const. art. VI, §

15(C).

120.     The unusual appointment of Retired Judge Black in 2017 was recommended by one

of Judge Wechsler’s colleagues on the Court of Appeals. EXHIBIT 9. The selection of

Judge Black did not follow the normal procedures for assignment of judges in the Court of

Appeals.

121.     While he was acting as a judge in the Navajo case, Judge Black was working as a

lawyer and investigator for the State of New Mexico, one of the parties to the case.

EXHIBIT 10. It is a violation of due process for a judge to work as a lawyer for a party, or

to accept compensation from a party. Judge Black did not disclose his employment or his

compensation, contrary to Liljeberg and Rule 21-211.

122.     In February 2017, shortly after he agreed to sit on the Navajo case, Retired Judge

Black agreed to work confidentially as an attorney and investigator for the University of


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New Mexico. UNM is an institution of the State of New Mexico, a party to the Navajo

litigation. Retired Judge Black did not disclose this to local water owners in the Navajo

case.

123.     In 2017 and 2018, Retired Judge Black agreed to another special assignment as a

lawyer and investigator for UNM, concerning football Coach Bob Davie. Retired Judge

Black also did not disclose this attorney-client relationship to the local water owners in the

Navajo case.

124.     UNM has been actively involved in the San Juan adjudication. The Utton Center at

UNM law school provided a so-called “ombudsman” to assist San Juan water owners in

signing agreements with the State Engineer. The “ombudsman” title was deceptive, because

the so-called “ombudsman” was not neutral at all. The “ombudsman” influenced water

owners to sign contracts of adhesion with the OSE, and many of them did, without getting

independent legal advice.

125.     By agreeing to act as a lawyer for a party, Retired Judge Black created an

irreconcilable conflict of interest. He created a conflict of duties, where his duties as a

lawyer are contrary to his duties as a judge. His duties to a current client under Rules 16-

107 and 16-108 clash with his duties as a judge.

126.     Retired Judge Black lists himself for employment at www.fedarb.com. See

https://www.fedarb.com/professionals/judge-bruce-d-black-retired/. Those employments,

whatever they are, might create conflicts, but there is no way of knowing because fedarb is

wrapped in “confidentiality”.


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127.    Furthermore, it appears that Retired Judge Black might not have complied with Rule

16-112 (former judge); Rule 16-204; Rule 21-310 (practice of law); Rule 21-311 (financial or

business activities); Rule 21-312 (compensation for extrajudicial activities); Rule 21-315

(extrajudicial compensation, expense reimbursement, and reporting); Rule 21-401

(campaign contributions).

128.    Because judges and staff have not made the required conflict disclosures, the

foregoing information is incomplete. Plaintiffs are currently in the process of acquiring

additional evidence which will be presented to the court after it is evaluated.

129.    The New Mexico Court of Appeals and Supreme Court have no established

procedures for identifying, disclosing, and preventing conflicts of interest among judges and

staff. Upon information and belief, the appellate courts do not have a computerized system

for conflict checks. Compliance is spotty because it is left to each individual.

F. First Amendment rights; right to speak to the press; right to ask for justice

130.    In February 2017 the acequias issued a statement to the press to explain the motion

which they had filed about Judge Wechsler’s conflicts. EXHIBIT 10. The press statement

quoted Mike Sullivan, the Chairman of the Association: “All we have ever asked for was

honesty and fairness through the judicial system,” said Mike Sullivan, chairman of the San

Juan Agricultural Water Users Association. “How could this have happened?”

131.    On April 3, 2018 the Court of Appeals issued Judge Black’s opinion on water rights,

2018-NMCA-053, 425 P.3d 723, and simultaneously entered an order referring the




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Association’s attorney to the disciplinary process for raising the question of Judge

Wechsler’s recusal.

132.    During the disciplinary process, disciplinary counsel incorrectly attributed Mike

Sullivan’s statement to the Association’s attorney, even though it was Mike Sullivan who

made the statement and asked the question quoted above. Disciplinary counsel convinced

the disciplinary authorities that the Association’s attorney had defamed Judge Wechsler “by

inference” when Mike Sullivan asked for fairness and honesty in the judicial system. The

Disciplinary Board has recommended that the Association’s attorney should be suspended

indefinitely for statements to the press.

133.    Every litigant in every court has a right to ask for fairness and honesty in the judicial

process, because fairness and honesty are essential elements of due process. Yet the water

owners are being punished because they asked for justice. This is an ongoing infringement

of the water owners First Amendment right to speak in court, to speak through their

lawyers, and to speak to the press. Water owners are being subjected to government

retaliation for exercising their free speech rights. See inter alia, Gentile v. State Bar of Nevada,

501 U.S. 1030 (1991); In re Sawyer, 360 U.S. 622 (1959); and Bose Corp. v. Consumers Union of

United States, Inc., 466 U.S. 485 (1984); Helena Chemical Co. v. Uribe, 2013-NMCA-017, 293

P.3d 888; Rule 16-306 NMRA (extrajudicial or out of forum statements are permitted).

G. Due process – the ban on “after acquired evidence”

134.    The disciplinary process selectively banned what it deemed “after-acquired

evidence.” For example, after Mr. Pollack belatedly produced DNA’s water litigation


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memo, EXHIBIT 6, the Disciplinary Board refused to consider it, because it was

characterized as “after-acquired evidence.” That is an outright repudiation of due process,

because the main purpose of the judicial process is to gather evidence after the fact. In the

United States, there is an entire branch of government – the judicial branch – that devotes

itself to gathering and processing “after-acquired evidence.”

H. Due process – ex parte contacts.

135.    The Office of the State Engineer has engaged in ex parte contacts with Judge

Wechsler, but no one has disclosed those contacts so that other parties can respond. Judge

Wechsler takes the erroneous position that he is not required to disclose his ex parte

communications with the OSE.

I. Equal protection

136.    Water owners are being denied the equal protection of the laws, because one water

claimant – the Navajo Tribe – has been given favorable and expedited treatment, the so-

called “Expedited Inter Se,” at the expense of water owners who hold valid water rights.

The “Expedited Inter Se” denies equal protection to local water owners by barring them

from presenting their side of the case to contest the Navajo claims. The “Expedited Inter

Se” denies equal protection to local water owners by granting water rights to parties who are

favored by the State Engineer, using a hasty, expedited, and summary process, while

denying other water owners the right to be heard at a meaningful time in a meaningful

manner.




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J. Substantive due process

137.      Water owners have been, and continue to be, subjected to violations of substantive

due process. They will not be heard in a reasonably foreseeable time. In another 200 years,

all of the local water owners will be dead.

138.      The three governments have infringed the due process rights stated above for

invidious purposes. The three governments have worked together for the following

invidious purposes:

          to prevent local water owners from ever being heard;

          to evade and violate all of the water laws set forth above; and

          to nullify the Colorado Compacts by allowing the Navajo Nation to export San Juan

River water from New Mexico to other states, while charging New Mexico’s compact share

for water that is actually used in other states. There is no conceivable way that 635,000

acre-feet can be put to beneficial use on the Navajo Reservation within New Mexico.

139.      As described in this complaint, water owners are being treated arbitrarily and in bad

faith.

VII. REMEDIES

140.      The water supply to each of the Plaintiffs is being jeopardized and impaired by the

matters described in this complaint. Unless the Court takes prompt action, the Plaintiffs will

be injured by reductions in water supply, restrictions on water use, and increased costs for

water. These injuries have already started to occur.




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141.     New Mexico is experiencing the first stages of ecologic and economic disaster. The

signs are everywhere:

142.     Elephant Butte Reservoir on the Rio Grande is only 5.9% full as of October 31,

2021.

143.     Navajo Reservoir on the San Juan River is holding only 26% of its active storage

capacity, as of October 11, 2021.

144.     The water level behind Glen Canyon Dam in Lake Powell has dropped to an

elevation of 3543.91 feet, as of November 6, 2021. At this level, the reservoir is holding less

than 29% of its maximum capacity, the lowest since the reservoir was filled.

145.     The water level behind Boulder Dam in Lake Mead has dropped to an elevation of

1,066.07 feet, as of November 6, 2021. This is less than 34% of its maximum capacity, the

lowest since the reservoir was filled.

146.     The low water levels in Lake Powell and Lake Mead have reduced the amount of

hydroelectric power that can be generated by Glen Canyon Dam and Boulder Dam. If

water levels drop much further, it will become impossible for the turbines to generate any

power at all.

147.     Glen Canyon Dam supplies electric power at very low rates to pump water uphill at

NIIP. So in essence the federal government is wasting electricity in order to waste water at

NIIP.

148.     In August 2021 the BOR declared a water shortage on the Colorado River and began

cutbacks in water supplies.


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149.    Yet, in the face of this growing environmental and societal catastrophe, it is the

official position of the New Mexico courts that water shortages and drought do not matter.

COA opinion ¶ 40. The United States and the Navajo Nation agree with the COA opinion

that water shortages, global warming, endangered species, and drought can be ignored. The

United States and the Navajo Nation assert that the COA opinion is correct in all respects,

even though the opinion flatly violates all of the federal laws set forth in this complaint.

150.    Plaintiffs respectfully submit that the pure questions of law in Parts III and IV should

be the first priority for decision, while the parties move forward towards a later resolution of

the questions in Part VI. The questions of law posed in Parts III and IV can be answered by

a straightforward reading of the federal laws and cases cited in this complaint.

151.    At the present time this complaint does not seek money damages, but this complaint

does seek an award of costs and attorneys fees under applicable laws such as the Civil

Rights Acts, the Endangered Species Act, and the National Environmental Policy Act.

152.    Plaintiffs reserve all of the their procedural and substantive rights, including the right

to amend this complaint, or to file other lawsuits.

                                      PRAYER FOR RELIEF

        Wherefore, Plaintiffs pray the court:

(A) to issue declaratory judgments on the points of federal law set forth in Parts III and IV;

(B) to issue declaratory judgments on other related issues of federal law as appropriate,

including the issues of federal law in Part VI;




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(C) to issue injunctive and other relief pursuant to 28 U.S.C. § 2202 to implement and

enforce the Court’s declaratory judgments;

(D) to issue the relief to which each party is entitled even if the party has not demanded that

relief in pleadings, as required by Fed. R. Civ. P. 54(c); and

(E) to grant such other and further relief as may be appropriate, including costs and

attorneys fees under applicable law.

Dated: November 12, 2021.

                             Respectfully submitted,

                             VICTOR R. MARSHALL & ASSOCIATES, P.C.


                             By /s/ Victor R. Marshall
                                   Victor R. Marshall
                                   Attorneys for Plaintiffs
                                   12509 Oakland NE
                                   Albuquerque, New Mexico 87122
                                   505-332-9400
                                   victor@vrmarshall.com




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     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW MEXICO

GUY CLARK, et al.,
     Plaintiffs,

v.                                                         No.

DEB HAALAND, et al.,
     Defendants.

                                EXHIBITS TO COMPLAINT

1.      Map of Colorado River Basin, San Juan River, and Rio Grande.

2.      State’s schedule for completing the San Juan adjudication, filed February 14, 2017.

3.      Notice of constitutional defect in service list AB-07-1, filed October 31, 2011.

4.      Email by Special Master Steve Snyder, October 31, 2011.

5.      Notice of withdrawal by Special Master Steve Snyder on his own motion, filed
        November 2, 2011.

6.      DNA litigation memo sent to Navajo Tribal Council about the Tribe’s water rights in
        the Colorado River Basin, dated February 4, 1971.

7.      Partial records of payments by OSE and ISC to the law firm of Judge Wechsler’s son.

8.      Contract signed by Judge Wechsler’s son for legal work through 2023, for a total
        contract amount of $3,060,000.

9.      Email from Court of Appeals Judge Linda Vanzi requesting special appointment of
        retired Judge Bruce Black to San Juan appeals, February 2, 2017.

10.     Press release by acequias, February 27, 2018.


[Highlighting is added for ease of reference only.]
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[Highlighting is added for ease of reference only.]
FIGURE 1
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The Study Area




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COLORADO RIVER WATER SUPPLY AND DEMAND STUDY
 U.S. Department of Interior and Bureau of Reclamation
        released December 12, 2012
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EXECUTIVE SUMMARY                           ES-3                                DECEMBER 2012
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STATE OF NEW MEXICO
SAN JUAN COUNTY
ELEVENTH JUDICIAL DISTRICT COURT


STATE OF NEW MEXICO, ex rel.                        CV-75-184
STATE ENGINEER,                                     Hon. James J. Wechsler
                                                    Presiding Judge
                               Plaintiff,
                                                    SAN JUAN RIVER STREAM SYSTEM
v.                                                  ADJUDICATION


THE UNITED STATES OF AMERICA                        LA PLATA RIVER SECTION

et al.,
Defendants,

vs.

THE JICARILLA APACHE TRIBE and the
NAVAJO NATION,

Defendant-Intervenors.
____________________________________


     STATUS REPORT ON COMPLETING THE SAN JUAN RIVER STREAM SYSTEM
                            ADJUDICATION

        Pursuant to the Court’s October 18, 2016 Order Regarding Proposal for Proceeding in

the Adjudication, and February 8, 2017 Order Denying Motion for Extension of Time to File

Status Report on Completing the Adjudication of the San Juan River Stream System

Adjudication, Plaintiff State of New Mexico, (“State”) provides this Report on its plan for the

completion of the remaining sections of the San Juan River Stream System Adjudication.

        In the State’s FY 2016 Rule 1-071.3 Report, the State identified the tasks that have been

completed in the San Juan adjudication, those that are in process, and those to be completed. See

Notice of Filing Rule 1.071.3 Report (September 29, 2016). In the face of possibly permanent

reductions to its budget, the State’s priority is to finish adjudicating those claims that are already



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pending before the Court instead of beginning a new section. This means that the State’s

priorities are completing the adjudication of surface water rights in the La Plata section,

defending the Court’s orders adjudicating the Navajo Nation’s water rights in pending appeals,

and resuming the already scheduled proceeding on the Ute Mountain Ute’s water rights claims.

Under the Preliminary Scheduling Order for the Adjudication of the Water Rights of the Ute

Mountain Ute Tribe entered on August 4, 2009, the parties must file a joint motion for a

proposed procedural order on March 30 2020, and begin preparing expert reports. This

proceeding will require significant attorney and technical resources from the State.

       The State is also required to allocate resources to the appeal of the Navajo Nation’s water

rights, currently pending before the Court of Appeals, that will likely continue before the New

Mexico Supreme Court. These appeals also require participation by the State, and the allocation

of resources.

       As the State reported in its Motion for Extension of Time, there is a very real possibility

that a reduction in appropriations may force the State to suspend prosecution of some ongoing

adjudications, including further sections of the San Juan River Adjudication. It would not be an

efficient use of the State’s resources to begin the hydrographic survey work for
                                                                             f a new section in

the face of significant uncertainty of sufficient resources being available to complete the survey,

which would grow stale over time. However, to address the Court’s request, the State has

estimated the time required to adjudicate the remaining sections of the San Juan Basin, which are

the (1) Animas, (2) San Juan main stem, (3) Los Pinos and Navajo Rivers, and (4) the lands and

water rights within Hammond Conservancy District, based upon the time that has been required

to adjudicate surface water rights in the La Plata section. See Scheduling Order Governing

Adjudication of Irrigation Water Rights in the La Plata River Section (filed February, 2006).



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        A review of the time it has taken the State to adjudicate approximately 430 irrigation

subfiles in the La Plata section, with varying levels of resources, shows that it took

approximately two years to prepare the hydrographic survey section, twelve years to adjudicate

430 irrigation subfiles, and will take an additional two to three years to complete inter se and

enter a judgment and decree. There are approximately 8,600 water rights remaining in the San

Juan Basin, for an estimated 30,800 acres. The
                                            h hydrographic survey of that many acres would

require a minimum of 8 years. If the State were able to adjudicate the subfiles at the same rate as

in La Plata, which is an average of 36 subfiles per year, it could take over two hundred years to

re-adjudicate the remaining surface water rights in the San Juan. The inter se proceeding for

each of the remaining four sections would also require an additional eight to ten years.

        The chart below captures the tasks for completing the next section of the adjudication, the

San Juan section surface water rights.

Category                          Task
A. Evaluation of Surface Water
Uses in the San Juan Section
                                  1. Identify claimants and existing
                                  surface rights, including field visits,
                                  evaluation of county records to
                                  gather information and prepare
                                  proposed subfile orders
                                  2. Preparation of hydrographic
                                  survey maps and report depicting
                                  surface water rights
                                  3. Publication and filing of
                                  hydrographic survey maps and
                                  report
                                  4. Motions for entry of procedural
                                  order to govern adjudication process
                                  5. Joinder of all known claimants
                                  and service of packet with pertinent
                                  documents, including proposed
                                  consent order
                                  6. Publication of notice to serve
                                  known but not located claimants
                                  7. Publication of notice of deadline
                                  for unknown claimants of interest to
                                  file water rights claims
                                  8. Consultation period, public

                                                     3
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                                       meetings, and field visits with
                                       claimants regarding proposed
                                       consent orders
                                       9. Litigation with claimants who file
                                       answers objecting to proposed
                                       consent orders
                                       10. File motions for default
                                       judgment against unknown
                                       claimants of interest and other who
                                       do not respond to publication notice
                                       and/or motions for judgment on any
                                       remaining subfiles
                                       11. Orders entered on all subfiles
B. Preparation of Maps and
Appendices for Inter Se on Surface
Water Rights
                                       1. Preparation of draft final
                                       judgment and decree, including
                                       technical and administrative work to
                                       compile description of water rights
                                       and mailing list
                                       2. Review of all orders to reconcile
                                       State’s internal database and maps
                                       3. File motions to amend/correct
                                       subfile orders, if necessary
C. Inter se proceedings and entry of
Final Decree on Surface Water
Rights
                                       1. Filing of motion for procedural
                                       order for inter se and entry of final
                                       judgment and decree
                                       2. Briefing on motion for procedural
                                       order and entry of procedural order
                                       3. State files motion to enter FJD
                                       4. State makes FJD available for
                                       public inspection, including
                                       addendum summarizing all water
                                       rights and forms for objection Notice
                                       and mailing of notice of draft final
                                       judgment and decree and inter se
                                       process
                                       5. State files updated service list
                                       6. State mails and publishes notice
                                       of inter se proceeding; files Proof of
                                       Publication of Notice and certificate
                                       of service
                                       7. Deadline for filing inter se
                                       objections
                                       8. State files and posts report
                                       summarizing inter se objections and
                                       mails objections to water right
                                       owners
                                       9. Mandatory scheduling
                                       conferences on inter se objections


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                                  10. Court conducts proceedings on
                                  inter se objections
                                  11. Entry of order resolving inter se
                                  objections
                                  12. Briefing on Motion to Enter
                                  FJD
                                  13. Court enters Final Judgment and
                                  Decree on Surface Water Rights in
                                  the San Juan section



       Given the limited resources of the State and the projected length of time required to

continue the adjudication under existing procedures, the State’s priority is to devote its available

resources to evaluating alternative approaches to streamline the adjudication process, rather than

to commence planning under currently required approaches.

                                                                 Respectfully submitted,

                                                                 _/s/ Arianne Singer
                                                                 Arianne Singer
                                                                 Kelly Brooks Smith
                                                                 Gary Storm
                                                                 Special Assistant Attorneys General
                                                                 Office of the State Engineer
                                                                 P. O. Box 25102
                                                                 Santa Fe, NM 87504-5102
                                                                 505/827-6150; 505/827-3887 (fax)


                                 CERTIFICATE OF SERVICE

       I certify that I have caused a copy of the above to be served by E-mail to all Counsel on
the Electronic Service List for D-1116-CV-7500184, and to wrnavajointerse@nmcourts.gov, on
February 14, 2017.

/s/ Kelly Brooks Smith
Kelly Brooks Smith




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                                                                     RP 0007542
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                                                                     RP 0007543
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                                                                     RP 0007544
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                                                                     RP 0007545
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                 Montgomery & Andrews PA Invoices from AP JRNL FY2017 thru FY2020
FY2017                                                                ISC M & A Invoices
Sum of Amount
Dept             Date                Supplier                            Supplier2                   Invoice          Total
Grand Total

FY2018
Sum of Amount
Dept             Date                Supplier                            Supplier2                   Invoice          Total
  ZB0516                 6/30/2018                               47304     MONTGOMERY & ANDREWS PA             109925 $ 20,993.50
Grand Total                                                                                                            $ 20,993.50


FY2019
Sum of Amount
Dept             Date                Supplier                            Supplier2                   Invoice          Total
  ZC5570                11/26/2018                               47304     MONTGOMERY & ANDREWS PA             111050 $ 51,196.71
                          1/3/2019                               47304     MONTGOMERY & ANDREWS PA             111486 $ 38,605.19
                         1/23/2019                               47304     MONTGOMERY & ANDREWS PA             111617 $ 17,913.88
                                                                                                     989-19243         $ 11,460.16
                         1/10/2019                               47304     MONTGOMERY & ANDREWS PA             111485 $ 4,943.36
                          3/4/2019                               47304     MONTGOMERY & ANDREWS PA   14904-1009        $ 26,125.00
                         4/15/2019                               47304     MONTGOMERY & ANDREWS PA   I/2019/00471-1971 $ 26,978.63
                                                                                                                30280 $ 16,730.00
                         4/18/2019                               47304     MONTGOMERY & ANDREWS PA              30273 $ 7,612.50
                         4/17/2019                               47304     MONTGOMERY & ANDREWS PA   I/2019/00605      $ 22,097.50
                          5/1/2019                               47304     MONTGOMERY & ANDREWS PA             112610 $ 38,740.82
                          5/9/2019                               47304     MONTGOMERY & ANDREWS PA   XXX-XX-XXXX       $ 11,326.88
                                                                                                                20143 $ 4,200.00
                                                                                                                30285 $ 11,830.00
                          6/4/2019                               47304     MONTGOMERY & ANDREWS PA             112616 $ 130,162.38
                         6/30/2019                               47304     MONTGOMERY & ANDREWS PA             113180 $ 2,168.75
  ZD6022                 6/30/2019                               47304     MONTGOMERY & ANDREWS PA   XXX-XX-XXXX/30291 $ 32,592.63
                                                                                                     1109-20468-30294 $ 58,917.37
                                                                                                               113181 $ 14,568.40
                                                                                                     XXX-XX-XXXX       $ 15,453.91
                                                                                                     XXX-XX-XXXX       $ 10,789.34
Grand Total                                                                                                            $ 554,413.41




FY2020
Sum of Amount
Dept           Date           Supplier                                   Supplier2                   Invoice         Total
     642100000      10/4/2019                                    47304     MONTGOMERY & ANDREWS PA            113182 $ 1,534.39
                    5/28/2020                                    47304     MONTGOMERY & ANDREWS PA            115310 $ 1,437.88
                    6/30/2020                                    47304     MONTGOMERY & ANDREWS PA            115874 $ 3,055.23
                                                                                                              114706 $ 8,492.63
     647000000           6/30/2020                               47304     MONTGOMERY & ANDREWS PA            115879 $ 56,464.00
  ZD5072                  9/3/2019                               47304     MONTGOMERY & ANDREWS PA   20807/US01U00018 $ 10,521.13
                         10/4/2019                               47304     MONTGOMERY & ANDREWS PA             30316 $ 46,930.00
                                                                                                     US01U000200634 $ 11,290.43
                        10/23/2019                               47304     MONTGOMERY & ANDREWS PA              1213 $ 2,800.00
                        10/31/2019                               47304     MONTGOMERY & ANDREWS PA   US01U000227768 $ 36,864.71
                        11/13/2019                               47304     MONTGOMERY & ANDREWS PA             21438 $ 1,875.00
                        11/19/2019                               47304     MONTGOMERY & ANDREWS PA            114131 $ 32,162.31
                        12/23/2019                               47304     MONTGOMERY & ANDREWS PA            114552 $ 28,354.51
                                                                                                              114553 $ 9,107.30
                                                                                                     PY US01U00015572 $ 16,783.21
                         1/27/2020                               47304     MONTGOMERY & ANDREWS PA             21971 $ 8,100.00
                        12/11/2019                               47304     MONTGOMERY & ANDREWS PA             21176 $ 13,500.00
                        12/10/2019                               47304     MONTGOMERY & ANDREWS PA              1235 $ 2,920.00
                                                                                                     US01U000251254 $ 57,088.13
                        12/31/2019                               47304     MONTGOMERY & ANDREWS PA   US01U000283611 $ 63,984.33
                         2/10/2020                               47304     MONTGOMERY & ANDREWS PA   US01U000306230 $ 62,362.78
                         2/14/2020                               47304     MONTGOMERY & ANDREWS PA             22217 $     900.00




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  ZD5072                2/24/2020                  47304    MONTGOMERY & ANDREWS PA    US01U000320508      $    20,704.77
                        3/11/2020                  47304    MONTGOMERY & ANDREWS PA                22531   $    42,500.00
                        3/31/2020                  47304    MONTGOMERY & ANDREWS PA    US01U000348704      $    13,538.26
                        4/24/2020                  47304    MONTGOMERY & ANDREWS PA    US01U000379020      $     7,158.38
                        6/26/2020                  47304    MONTGOMERY & ANDREWS PA    US01U000409158      $     9,830.63
                         5/6/2020                  47304    MONTGOMERY & ANDREWS PA               115363   $    70,926.26
                        5/18/2020                  47304    MONTGOMERY & ANDREWS PA                22840   $    21,165.00
                        6/10/2020                  47304    MONTGOMERY & ANDREWS PA                23111   $     9,637.50
                                                                                       US01U000428566      $     8,061.38
                        6/30/2020                  47304    MONTGOMERY & ANDREWS PA                23134   $     7,306.25
                                                                                       US01U000451235      $     8,862.00
                                                                                                  115879   $    55,084.94
  ZC5570               10/28/2019                  47304    MONTGOMERY & ANDREWS PA    PY 635-682          $     4,072.50
  ZE5069                6/30/2020                  47304    MONTGOMERY & ANDREWS PA               115879   $    60,943.17
Grand Total                                                                                                $   816,319.01


FY2021
Sum of Amount
Dept            Date                Supplier               Supplier2                   Invoice        Total
  ZE5067A               8/21/2020     0000047304             MONTGOMERY & ANDREWS PA   116169          $ 1,585.90
                       10/15/2020     0000047304             MONTGOMERY & ANDREWS PA   116372          $ 3,464.58
                       12/15/2020     0000047304             MONTGOMERY & ANDREWS PA   116960          $ 6,281.24
                       12/11/2020     0000047304             MONTGOMERY & ANDREWS PA   116601          $ 3,296.50
                        1/28/2021     0000047304             MONTGOMERY & ANDREWS PA   117298          $ 10,545.55
                        3/10/2021     0000047304             MONTGOMERY & ANDREWS PA   117496          $ 20,925.73
                                                                                       117618          $ 19,346.43
                        4/23/2021    0000047304             MONTGOMERY & ANDREWS PA    117977          $ 9,651.71
                        5/11/2021    0000047304             MONTGOMERY & ANDREWS PA    118555          $ 1,842.80
                        6/16/2021    0000047304             MONTGOMERY & ANDREWS PA    118769          $ 1,103.35
                        6/30/2021    0000047304             MONTGOMERY & ANDREWS PA    119055          $ 1,808.20
  ZE5069                 8/7/2020    0000047304             MONTGOMERY & ANDREWS PA    US01U000468781 $ 6,342.00
                        8/19/2020    0000047304             MONTGOMERY & ANDREWS PA    INV-3330        $ 8,543.75
                        9/14/2020    0000047304             MONTGOMERY & ANDREWS PA    116336          $ 63,178.29
                        9/18/2020    0000047304             MONTGOMERY & ANDREWS PA    116337          $ 61,961.19
                        9/24/2020    0000047304             MONTGOMERY & ANDREWS PA    INV-3701        $ 2,381.25
                        12/9/2020    0000047304             MONTGOMERY & ANDREWS PA    116907          $ 40,711.78
                                                                                       116908          $ 54,640.57
                                                                                       116920          $ 56,693.84
                         4/9/2021    0000047304             MONTGOMERY & ANDREWS PA    117854          $ 23,007.73
                                                                                       117780R         $ 81,332.46
                        4/15/2021    0000047304             MONTGOMERY & ANDREWS PA    117858          $ 28,760.34
                         5/6/2021    0000047304             MONTGOMERY & ANDREWS PA    118470          $ 37,275.39
                        5/14/2021    0000047304             MONTGOMERY & ANDREWS PA    INV-4058        $     562.50
                                                                                       INV-4381        $     425.00
                                                                                       INV-5615        $     137.50
                                                                                       INV-5973        $     275.00
                        6/21/2021    0000047304             MONTGOMERY & ANDREWS PA    118727          $     750.00
                        6/30/2021    0000047304             MONTGOMERY & ANDREWS PA    118896          $ 17,103.30
                                                                                       118897          $ 3,712.50
                                                                                       118898          $ 11,955.23
                                                                                       118936          $ 34,729.05
                                                                                       118937          $ 46,688.31
  0642100000            1/11/2021    0000047304             MONTGOMERY & ANDREWS PA    PY 115803       $ 6,251.42
  ZF5059                 6/9/2021    0000047304             MONTGOMERY & ANDREWS PA    PY 23089        $ 8,281.25
Grand Total                                                                                            $ 675,551.64
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FOR IMMEDIATE RELEASE
Santa Fe, New Mexico
February 27, 2018

ACEQUIAS FILE MOTION TO DISQUALIFY JUDGE FROM NAVAJO WATER CASE
     BECAUSE HE PREVIOUSLY REPRESENTED THE NAVAJO NATION.

        More than 20 acequias and community ditches on the San Juan River have filed a
motion asking the New Mexico Court of Appeals to disqualify Judge James Wechsler from
adjudicating the water claims of the Navajo Nation.
        In 2013 Judge Wechsler awarded 635,729 acre-feet of water to the Navajo Nation,
without a trial. According to the motion, that is roughly one quarter of all the river water in
New Mexico.
        In 2018 an investigation revealed that Judge Wechsler had worked for the Navajo
Nation as an attorney for almost six years. Judge Wechsler and the Navajo Nation did not
disclose their prior relationship, as required by Rule 21-211 of the Code of Judicial Conduct.
        Rule 21-211 provides that “a judge shall disqualify himself or herself from any
proceeding in which the judge’s impartiality might reasonably be questioned.” The motion
states that the public would reasonably doubt that Judge Wechsler could be impartial, since he
previously represented the Navajo Nation, one of the adversaries in the case.
         “There can be no doubt that Mr. Wechsler acted as a zealous, effective, loyal, and
dedicated advocate for his clients – just as he was required to do by the Rules of Professional
Conduct for lawyers.”
        “But that is exactly why Judge Wechsler cannot sit on this case. As a lawyer for the
Navajo Nation, he had a duty to act with zeal and undivided loyalty as a champion for the
interests of the Navajo Nation. That is the polar opposite of the duty of impartiality which is
imposed on every judge in every case.”
        Because Judge Wechsler worked as a lawyer for the Navajo Nation, he has personal
knowledge about key contested issues in the case, according to the motion. Rule 16-109
prohibits lawyers from using information against their former clients, so Judge Wechsler has a
built-in one-way bias imposed by law.
        “All we have ever asked forf was honesty and fairness through the judicial system,” said
Mike Sullivan, chairman of the San Juan Agricultural Water Users Association. “How could
this have happened? ”

      The acequias filed their motion and brief in the Court of Appeals on February 26, 2018.
Copies are attached with highlighting added.

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       Jim Rogers, 505-330-0047




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